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        UNITED STATES DISTRICT COURT
                               District of Kansas
                               (Kansas City Docket)

UNITED STATES OF AMERICA,

                  Plaintiff,

            v.                              CASE NO.: 17-20026-CM

JEFFREY PLANK,

                  Defendant.



          GOVERNMENT=S RESPONSE TO DEFENDANT’S
            MOTION FOR COMPASSIONATE RELEASE
                         (Doc. 51)


      APPEAR NOW the United States of America, by and through Jared S.

Maag, Assistant United States Attorney, and respectfully submit the following

in response to the defendant’s motion for compassionate release:

      The defendant moves this Court for an immediate order of compassionate

release for extraordinary and compelling reasons, namely, the significant risk of

COVID-19 on his overall health. (Doc. 51, Mot. for Compassionate Release



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at 1-26.) 1 The government objects to the defendant’s motion and maintains

that relief if unwarranted in this instance.

      I.     PROCEDURAL HISTORY

      On June 9, 2017, a grand jury sitting in Kansas City, Kansas issued a one

count indictment charging the defendant with possessing 50 grams or more of

methamphetamine with the intent to distribute the same. (Doc. 1, Indt. at 1-

2.)

      On March 8, 2018, the defendant entered a guilty plea—without an

agreement with the government—to the sole count in the indictment.              (Doc.

32, Plea Pet. at 1-7.)

      In anticipation of sentencing, a presentence investigation report (PSIR)

was drafted using the 2016 Guidelines Manual. (Doc. 45, PSIR at 1-45.)            The

defendant was held accountable for 6.24 grams of “Ice,” resulting in a base

offense level of 38.     (Id. at 7, ¶ 28.)   A 2-level enhancement was applied under

Section 2D1.1(b)(12) for maintaining a premises for the purpose of distributing

a controlled substance, resulting in an adjusted offense level of 40. (Id. at 7-8,

¶¶ 29-33.) After applying the appropriate reductions under Section 3E1.1, the



1
 It should be noted up front that the defendant tested positive for COVID-19 on May 21,
2020.
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defendant’s total offense level was calculated at 37.    (Id. at 8, ¶¶ 35-37.) The

defendant’s criminal history category was calculated at I, resulting in a guideline

range of imprisonment of 210-262 months.       (Id. at 13, ¶ 68.)

      On March 27, 2019—and based on a joint agreement by the parties for a

sentence below the guideline range, (Doc. 49, Statement of Reasons at 3,

¶ VI(B)(2))—the defendant was sentenced to a controlling term of imprisonment

of 144 months.    (Doc. 48, Judgment at 2.) The defendant’s projected release

date from the United States Bureau of Prisons is April 27, 2029.

      II.   ARGUMENT

      The defendant is burdened with demonstrating that circumstances exist

warranting this Court’s consideration of compassionate release.         See United

States v. Rodriguez-Orejuela, --- F.Supp.3d ---, 2020 WL 2050434, at *5 (S.D. Fla.

Apr. 28, 2020) (noting that under the CARES Act / Section 3582(c) framework

the defendant bears the burden of establishing that compassionate release is

warranted); United States v. Holden, --- F.Supp.3d ---, 2020 WL 1673440, at *3 (D.

Ore. Apr. 6, 2020) (noting that “[a] defendant seeking a reduction in his terms

of imprisonment bears the burden to establish both that he has satisfied the

procedural prerequisites for judicial review and that compelling and

extraordinary reasons exist to justify compassionate release.”); United States v.

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Epstein, 2020 WL 1808616, at *2 (D.N.J. Apr. 9, 2020) (Slip Op.) (“Simply put,

under the FSA, a defendant seeking a reduction in his term of imprisonment

bears the burden of establishing both that he has satisfied 1) the procedural

prerequisites for judicial review, and 2) that compelling and extraordinary

reasons exist to justify compassionate release.”).

      Here, the defendant falls short of satisfying the requirements for

compassionate release under 3582(c)(1)(A)(i). Thus, for the following reasons,

this Court must overrule his motion and deny the requested relief at this time.

      A.    BOP’s Response to the COVID-19 Pandemic

      As this Court is well aware, COVID-19 is an extremely dangerous illness

that has caused many deaths in the United States in a short period of time

resulting in disruption to our society and economy.         In response to the

pandemic, BOP has taken significant measures to protect the health of the

inmates in its charge.

      As of this pleading, BOP has 134,522 federal inmates in BOP-managed

institutions and 12,788 in community-based facilities. The BOP staff

complement is approximately 36,000. There are 2068 federal inmates and 185

BOP staff who have confirmed positive test results for COVID-19 nationwide.

Currently, 3957 inmates and 452 staff have recovered. There have been 78

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federal inmate deaths and 1 BOP staff member death attributed to COVID-19

disease.2

         The    current    modified     operations     plan    is   stated   in   full   at

https://www.bop.gov/coronavirus/covid19_status.jsp. Taken together, these

measures are designed to mitigate sharply the risks of COVID-19 transmission

in a BOP institution. BOP has pledged to continue monitoring the pandemic

and to adjust its practices as necessary to maintain the safety of prison staff and

inmates while also fulfilling its mandate of incarcerating all persons sentenced

or detained based on judicial orders.

         Unfortunately and inevitably, some inmates have become ill, and more

likely will in the weeks ahead. But BOP must consider its concern for the health

of its inmates and staff alongside other critical considerations. For example,

notwithstanding the current pandemic crisis, BOP must carry out its charge to

incarcerate sentenced criminals to protect the public. It must consider the effect

of a mass release on the safety and health of both the inmate population and the

citizenry. It must marshal its resources to care for inmates in the most efficient

and beneficial manner possible. It must assess release plans, which are essential

to ensure that a defendant has a safe place to live and access to health care in


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    https://www.bop.gov/coronavirus/ (last visited 9 June 2020).
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these difficult times. And it must consider myriad other factors, including the

availability of both transportation for inmates (at a time that interstate

transportation services often used by released inmates are providing reduced

service), and supervision of inmates once released (at a time that the Probation

Office has necessarily cut back on home visits and supervision).

            B.     Legal Framework

      Under 18 U.S.C. § 3582(c)(1)(A), this Court may, in certain circumstances,

grant a defendant’s motion to reduce his term of imprisonment. Before filing

that motion, however, the defendant must first request that BOP file such a

motion on his behalf pursuant to Section 3582(c)(1)(A). A court may grant the

defendant’s own motion for a reduction in his sentence only if the motion was

filed “after the defendant has fully exhausted all administrative rights to appeal

a failure of the Bureau of Prisons to bring a motion on the defendant’s behalf ”

or after 30 days have passed “from the receipt of such a request by the warden

of the defendant’s facility, whichever is earlier.” Id.

      If that exhaustion requirement is met, as it has been here, a court may

reduce the defendant’s term of imprisonment “after considering the factors set

forth in [18 U.S.C. § 3553(a)]” if the Court finds, as relevant here, that

(i) “extraordinary and compelling reasons warrant such a reduction” and

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(ii) “such a reduction is consistent with applicable policy statements issued by

the Sentencing Commission.” § 3582(c)(1)(A)(i). Again, as the movant, the

defendant bears the burden to establish that he is eligible for a sentence

reduction. United States v. Jones, 836 F.3d 896, 899 (8th Cir. 2016); United States

v. Green, 764 F.3d 1352, 1356 (11th Cir. 2014).

       The Sentencing Commission has issued a policy statement addressing

reduction of sentences under Section 3582(c)(1)(A).                 As relevant here, the

policy statement provides that a court may reduce the term of imprisonment

after considering the Section 3553(a) factors if the Court finds that

(i) “extraordinary and compelling reasons warrant the reduction;” (ii) “the

defendant is not a danger to the safety of any other person or to the community,

as provided in 18 U.S.C. § 3142(g);” and (iii) “the reduction is consistent with

this policy statement.” U.S.S.G. § 1B1.13.3




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  The policy statement refers only to motions filed by the BOP Director. That is because the
policy statement was last amended on November 1, 2018, and until the enactment of the First
Step Act on December 21, 2018, defendants were not entitled to file motions under Section
3582(c). See First Step Act of 2018, Pub. L. No. 115-391, § 603(b), 132 Stat. 5194, 5239; cf. 18
U.S.C. § 3582(c) (2012). In light of the statutory command that any sentence reduction be
“consistent with applicable policy statements issued by the Sentencing Commission,”
§ 3582(c)(1)(A)(ii), and the lack of any plausible reason to treat motions filed by defendants
differently from motions filed by BOP, the government submits that the policy statement
applies to motions filed by defendants as well.
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      The policy statement includes an application note that specifies the types

of medical conditions that qualify as “extraordinary and compelling reasons.”

First, that standard is met if the defendant is “suffering from a terminal illness,”

such as “metastatic solid-tumor cancer, amyotrophic lateral sclerosis (ALS),

end-stage organ disease, [or] advanced dementia.” U.S.S.G. § 1B1.13, cmt.

n.1(A)(i). Second, the standard is met if the defendant is:

      (I) suffering from a serious physical or medical condition,

      (II) suffering from a serious functional or cognitive impairment, or

      (III) experiencing deteriorating physical or mental health because of
      the aging process,

           that substantially diminishes the ability of the defendant
           to provide self-care within the environment of a
           correctional facility and from which he or she is not
           expected to recover.

U.S.S.G. § 1B1.13, cmt. n.1(A)(ii). The application note also sets out other

conditions and characteristics that qualify as “extraordinary and compelling

reasons” related to the defendant’s age and family circumstances. U.S.S.G.

§ 1B1.13, cmt. n.1(B)-(C). Finally, the note recognizes the possibility that BOP

could identify other grounds that amount to “extraordinary and compelling

reasons.” U.S.S.G. § 1B1.13, cmt. n.1(D).



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             C.    Lack of Extraordinary and Compelling Reasons

      In the present case, the defendant’s request for a sentence reduction should

be denied because he has not demonstrated “extraordinary and compelling

reasons” warranting release. As explained above, under the relevant provision

of Section 3582(c), a court can grant a sentence reduction only if it determines

that “extraordinary and compelling reasons” justify the reduction and that “such

a reduction is consistent with applicable policy statements issued by the

Sentencing Commission.”        18 U.S.C. § 3582(c)(1)(A)(i).       The Sentencing

Commission’s policy statement defines “extraordinary and compelling reasons”

to include, as relevant here, certain specified categories of medical conditions.

U.S.S.G. § 1B1.13, cmt. n.1(A).

      For that reason, to state a cognizable basis for a sentence reduction based

on a medical condition, the defendant first must establish that his condition(s)

fall(s) within one of the categories listed in the policy statement.          Those

categories include, as particularly relevant here, (i) any terminal illness, and (ii)

any “serious physical or medical condition . . . that substantially diminishes the

ability of the defendant to provide self-care within the environment of a

correctional facility and from which he . . . is not expected to recover.” U.S.S.G.

1B1.13, cmt. n.1(A). If a defendant’s medical condition does not fall within

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one of the categories specified in the application note (and no other part of the

application note applies), his motion must be denied. The defendant fails to

meet the established criteria.

       The mere existence of the COVID-19 pandemic, which poses a general

threat to every non-immune person in the country, does not fall into either of

those categories and therefore could not alone provide a basis for a sentence

reduction.     The categories encompass specific serious medical conditions

afflicting an individual inmate, not generalized threats to the entire population.

As the Third Circuit has held, “the mere existence of COVID-19 in society and

the possibility that it may spread to a particular prison alone cannot

independently justify compassionate release.” United States v. Raia, 954 F.3d 594,

597 (3d Cir. 2020); see also United States v. Eberhart, No. 13-cr-00313-PJH-1,

2020 WL 1450745 at *2 (N.D. Cal. Mar. 25, 2020) (Slip Op.) (“a reduction of

sentence due solely to concerns about the spread of COVID-19 is not consistent

with the applicable policy statement of the Sentencing Commission as required

by § 3582(c)(1)(A).”). 4        To classify COVID-19 as an extraordinary and


4
  See also, e.g., United States v. Coles, 2020 WL 1899562 (E.D. Mich. Apr. 17, 2020) (denied
for 28-year-old inmate at institution with outbreak); United States v. Okpala, 2020 WL 1864889
(E.D.N.Y. Apr. 14, 2020); United States v. Weeks, 2020 WL 1862634 (S.D.N.Y. Apr. 14, 2020);
United States v. Haney, 2020 WL 1821988 (S.D.N.Y. Apr. 13, 2020) (denied for 61-year-old
with no other conditions); United States v. Pinto-Thomaz, 2020 WL 1845875 (S.D.N.Y. Apr.
13, 2020) (two insider trading defendants with less than a year to serve have no risk factors);
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compelling reason would not only be inconsistent with the text of the statute

and the policy statement, but would be detrimental to BOP’s organized and

comprehensive anti-COVID-19 regimens, could result in the scattershot

treatment of inmates, and would undercut the strict criteria BOP employs to

determine individual inmates’ eligibility for sentence reductions and home

confinement. Section 3582(c)(1)(A) contemplates sentence reductions for

specific individuals, not the widespread prophylactic release of inmates and the




United States v. Korn, 2020 WL 1808213, at *6 (W.D.N.Y. Apr. 9, 2020) (“in this Court’s view,
the mere possibility of contracting a communicable disease such as COVID-19, without any
showing that the Bureau of Prisons will not or cannot guard against or treat such a disease,
does not constitute an extraordinary or compelling reason for a sentence reduction under the
statutory scheme.”); United States v. Carver, 2020 WL 1892340 (E.D. Wash. Apr. 8, 2020);
United States v. Fuentes, 2020 WL 1937398 (E.D. Cal. Apr. 22, 2020); United States v. Singh,
2020 WL 1937437 (E.D. Cal. Apr. 22, 2020) (62-year-old with no ailments); United States v.
Spruill, 2020 WL 2113621, at *4-5 (D. Conn. May 4, 2020); United States v. Harris, 2020 WL
1969951 (M.D. Fla. Apr. 24, 2020); United States v. Garcia, 2020 WL 2039227 (C.D. Ill. Apr.
28, 2020) (the court broadly holds that the risk of infection to an inmate is not a circumstance
within § 1B1.13, which is binding); United States v. Wright, 2020 WL 1976828, at *5 (W.D.
La. Apr. 24, 2020) (“The Court stresses that the rampant spread of the coronavirus and the
conditions of confinement in jail, alone, are not sufficient grounds to justify a finding of
extraordinary and compelling circumstances. Rather, those circumstances are applicable to
all inmates who are currently imprisoned and hence are not unique to any one person. The
Court cannot release every prisoner at risk of contracting COVID-19 because the Court would
then be obligated to release every prisoner.”); United States v. Hiller, 2020 WL 2041673 (D.
Md. Apr. 28, 2020) (being over age 65 insufficient); United States v. Espinal, 2020 WL 2092484
(E.D.N.Y. May 1, 2020); United States v. Hood, 2020 WL 2091070 (W.D.N.C. Apr. 30, 2020);
United States v. Stanard, 2020 WL 2219478, at *4 (W.D. Wash. May 7, 2020) (not justified by
“the mere elevated risk of contracting a pandemic virus in prison, even if such a higher risk
exists.”) (citation omitted); United States v. Pao Xiong, 2020 WL 2042776 (E.D. Wis. Apr. 28,
2020).


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modification of lawfully imposed sentences to deal with a world-wide viral

pandemic.

      That does not mean, however, that COVID-19 is irrelevant to a court’s

analysis of a motion under § 3582(c)(1)(A). If an inmate has a chronic medical

condition that has been identified by the CDC as elevating the inmate’s risk of

becoming seriously ill from COVID-19,5 that condition may satisfy the standard

of “extraordinary and compelling reasons.” Under these circumstances, a

chronic condition (i.e., one “from which [the defendant] is not expected to

recover”) reasonably may be found to be “serious” and to “substantially

diminish[] the ability of the defendant to provide self-care within the

environment of a correctional facility,” even if that condition would not have

constituted an “extraordinary and compelling reason” absent the risk of

COVID-19. U.S.S.G. § 1B1.13, cmt. n.1(A)(ii)(I).

      But as part of its analysis of the totality of circumstances, the Court

should consider whether the inmate is more likely to contract COVID-19 if he

is released than if he remains incarcerated. That will typically depend on the

inmate’s proposed release plan and whether a known outbreak has occurred at


5
    See Centers for Disease Control, At Risk for Severe Illness, available at
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/groups-at-higher-
risk.html (last modified Apr. 2, 2020).
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his institution. As of the date of this response, Forrest City Low, FCI has

documented 511 positive cases of COVID-19 amongst the inmates, with 1

positive case amongst staff members.         There have been no inmate or staff

deaths at the facility related to COVID-19.

      In this case, Defendant asserts that he suffers from a combination of

serious health ailments, namely, age, obesity, sleep apnea, congestive heart

failure, Type II diabetes, obesity and COPD. (Doc. 51, Mot. for Release at 1-

3.) As a consequence of these medical conditions, the defendant maintains that

his chances of hospitalization, intensity (sic) care, or death are greatly increased

in light of the pandemic. (Id. at 2.) The defendant moves this Court to re-

sentence him to time-served and subsequently release him to home-confinement

for a period of 5 years at a residence in Gardner, Kansas. (Id. at 19, 21, and

24.) This release plan has not been approved either by BOP or United States

Probation. He further suggests that this Court extend his supervised release to

ten years. Id. at 21.

      The defendant unquestionably suffers from a number of medical issues.

However, each condition is being properly addressed by BOP without any

further significant worsening or inability by the defendant to properly care for

himself. In short, the defendant does not suffer from a terminal illness, or any

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“serious physical or medical condition . . . that substantially diminishes the

ability of the defendant to provide self-care within the environment of a

correctional facility and from which he . . . is not expected to recover.” U.S.S.G.

1B1.13, cmt. n.1(A).

      And, it appears as of this pleading that the defendant’s positive test result

for COVID-19 has had no impact on his overall health. Indeed, as late as June

2, the defendant remains asymptomatic and has complained of no typical

symptoms associated with COVID-19. Thus, putting this case in context, the

defendant is seeking release because of a medical condition that is being properly

treated by BOP and which has had no impact by a positive COVID-19 result.

That request should be denied.

      Finally, application of the Section 3553(a) factors warrants against a

significant reduction in the defendant’s sentence.      The defendant has only

completed approximately 25% of his sentence, and a sentence of time-served

would be unjust under the circumstances.

      For these reasons, the defendant has failed to establish an “extraordinary

and compelling reason” for emergency release under Section 3582(c). The

motion should therefore be denied.



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                                Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I hereby certify that on this 9th day of June, 2020, I electronically filed the
foregoing Response with the Clerk of the Court by using the CM/ECF system,
and that a copy of this filing will be electronically delivered to:

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